          Case 2:21-cr-00626-VJ1 Document 21 Filed 07/22/21 Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                      )
                                                )
                 Plaintiff,                     )    NO. 21-CR-626
                                                )
        vs.                                     )
                                                )
 DAVID WILLIAM HILL,                            )
                                                )
                 Defendant.                     )

                              NOTICE OF ENTRY OF APPEARANCE
                               AND SUBSTITUTION OF COUNSEL

       The United States of America notifies the Court that DUSTIN C. SEGOVIA, Assistant

United States Attorney, withdraws as counsel for the United States in the above matter, and in

substitution therefor, RICHARD C. WILLIAMS, hereby enters his appearance on behalf of the

United States.

       The United States requests that all notices, pleadings and correspondence be delivered to

the attention of RICHARD C. WILLIAMS.

                                                    Respectfully submitted,

                                                    FRED J. FEDERICI
                                                    Acting United States Attorney

                                                    /s/ Electronically Filed 7/22/21
                                                    RICHARD C. WILLIAMS
                                                    Assistant U.S. Attorney
                                                    200 N. Church Street
                                                    Las Cruces, NM 88001
                                                    (575) 522-2304 - Tel.
                                                    (575) 522-2391 - Fax
I HEREBY CERTIFY that I electronically
filed the foregoing with the Clerk of the
Court using the CM/ECF system which
will send electronic notification to defense
counsel of record.

/s/ Electronically Filed 7/22/21
RICHARD C. WILLIAMS
Assistant U.S. Attorney
